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                             UNTIED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


ELI DURAND-MCDONNELL,                           )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )
                                                )
KEVIN EDGECOMB, in his individual               )    Civil No. _______________
capacity                                        )
                                                )
&                                               )
                                                )
NATHAN FORMBY, in his individual                )
capacity.                                       )
                                                )
        Defendants.                             )
                                                )
                                                )

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         NOW COMES Plaintiff, Eli Durand-McDonnell, by and through undersigned counsel, and

 hereby complains against Defendants Bar Harbor and Mount Desert Police Department Lieutenant

 Kevin Edgecomb and Patrolman Nathan Formby, as follows:

                                       INTRODUCTION

      1. This is a civil rights case challenging Bar Harbor and Mount Desert Police Lieutenant

         Kevin Edgecomb (hereinafter “Lt. Edgecomb”) and Patrolman Nathan Formby’s

         (hereinafter “Officer Formby”) illegal arrest of Eli Durand-McDonnell (hereinafter

         “Durand-McDonnell”) in direct retaliation against Durand-McDonnell for the peaceful

         exercise of his First Amendment rights in protest of the political agenda of Leonard Leo

         (hereinafter “Leo”). Lt. Edgecomb and Officer Formby made this illegal and retaliatory

         arrest to silence Durand-McDonnell’s free speech and at the direct behest of Leo, a
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    powerful and wealthy conservative political activist who has used millions of dollars as

    political speech to influence American politics and courts. Moments before Durand-

    McDonnell’s illegal arrest, Leo told Lt. Edgecomb and Officer Formby that “You know,

    this is no longer -- just so we’re clear here, this is no longer a political protest, all right?

    When they have ‘fuck Leo’ signs and stuff like that, that’s not a political protest anymore,

    okay?” Leo also told the officers that “And so I really feel like this is a guy who’s got to

    be in jail someday, and sooner rather than later.” Lt. Edgecomb and Officer Formby agreed

    with Leo and arrested Durand-McDonnell and brought him to jail as he was literally

    holding a sign denouncing Leo’s political activities despite clear state and federal law

    prohibiting them from doing so. The officers’ collective actions retaliated against Durand-

    McDonnell for exercising one of his most important constitutional rights and sought to

    chill his political speech.



                                          PARTIES

 1. Plaintiff Eli Durand-McDonell is a resident of Bar Harbor, Maine.

 2. Defendant Lt. Kevin Edgecomb is a police department officer for the Bar Harbor and

    Mount Desert Police Department.

 3. Defendant Officer Nathan Formby is a police department officer for the Bar Harbor and

    Mount Desert Police Department.

 4. Lt. Edgecomb and Officer Formby, sued in their individual capacities, were police officers

    for the Bar Habor and Mount Desert Police Department and acted under color of state law

    at all times relevant to this Complaint.



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                                      JURISDICTION

 5. This action seeks to vindicate rights guaranteed by the First, Fourth, and Fourteenth

    Amendments of the United States Constitution, and it is brought pursuant to 42 U.S.C. §

    1983.

 6. This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331 because

    this action arises under federal law. Jurisdiction is also authorized pursuant to 28 U.S.C. §

    1343(a)(3).

 7. Pursuant to 28 U.S.C. § 1367(a), this Court possesses supplemental jurisdiction over state

    law claims under the Maine Civil Rights Act, 5 M.R.S. §§ 4681-85, and the Maine Tort

    Claims Act, 14 M.R.S. §§ 8101-8118.

 8. Venue in this Court is proper under 28 U.S.C. § 1391(b) because the events giving rise to

    this action occurred within this judicial district and because the Defendants are subject to

    personal jurisdiction in this District.

                                 STATEMENT OF FACTS

 9. On June 24, 2022, the United State Supreme issued its decision in Dobbs v. Jackson

    Women’s Health Organization, which effectively overturned the long-standing decision in

    Roe v. Wade that provided federal protections for women’s reproductive rights.

 10. Public opinion over the overturning of Roe v. Wade was split with strong sentiments for

    and against its overturning.

 11. Many Americans were angered by the Dobbs decision and what they viewed as the radical

    actions of a new conservative majority on the US Supreme Court.



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 12. Media coverage before and after the Dobbs decision revealed that Leo played a significant

    role in the nomination and appointment of the Supreme Court’s most recent conservative

    justices, including Neil Gorsuch, Brett Kavanaugh, and Amy Coney Barrett.

 13. Leo owns a summer home in Northeast Harbor, Maine.

 14. Leo and his home became the focus of political protests against him for his efforts

    supporting the nominations of conservative Supreme Court Justices following issuance of

    the Dobbs decision on June 24, 2022.

 15. Durand-McDonnell, his family, friends, and others took part in these protests outside Leo’s

    home in Northeast Harbor.

 16. Durand-McDonnell was participating in such a peaceful political protest on July 31, 2022.

 17. At approximately 5:53PM the head of Leo’s private security detail contacted the Bar

    Harbor and Mount Desert Police Department to complain about the protest.

 18. In particular, the security officer complained about Durand-McDonnell and reportedly

    stated that “There is a group of about 25-30 protestors exercising their First Amendment

    rights, but this kid has gone above and beyond harassing them, cursing at them. Not the

    first time and now he is standing on the edge of the property yelling obscenities.”

 19. Lt. Edgecomb and Officer Formby responded to the call.

 20. Lt. Edgecomb responded with his emergency lights and siren.

 21. Lt. Edgecomb arrived first and was brought into the study of Leo’s home by his security

    detail.

 22. Lt. Edgecomb wore a microphone that captured the audio of his interactions with Leo

    inside Leo’s home and Durand-McDonnell and protestors outside by the protest.

 23. Leo told Lt. Edgecomb that “I think it’s time for us to press some charges.”

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 24. Leo pointed out Durand-McDonnell to Lt. Edgecomb and admitted Durand-McDonnell

    was not on his property where he was protesting.

 25. Durand-McDonnell was holding a sign that read “Leonard Leo. May be a really nice guy.

    But: He is also directly responsible for the overturning of Roe v. Wade and the erosion of

    your reproductive rights. Google his name. He is one of the most dangerous men in the

    United States.”

 26. Durand-McDonnell was dressed casually and seen smiling throughout the portion of the

    peaceful protest captured on Lt. Edgecomb’s cruiser camera.

 27. Leo told Lt. Edgecomb that earlier that day around 4:30PM Durand-McDonnell had yelled

    at him and his family from a moving vehicle telling him that “you’re a fucking asshole”

    and “you’re going to hell.”

 28. Leo also told Lt. Edgecomb that Durand-McDonnell yelled to his wife and daughter that

    “you’re all going with him.”

 29. All of these allegations occurred outside the presence of Lt. Edgecomb and Officer

    Formby.

 30. 17-A M.R.S. § 15 prohibits Maine law enforcement officers, including Lt. Edgecomb and

    Officer Formby, from arresting citizens of Maine for enumerated misdemeanor offenses

    unless those enumerated misdemeanor offenses occur in the presence of the officer.

 31. 17-A M.R.S. § 15 was in effect at all times relevant to this Complaint.

 32. Leo complained about other people who yelled obscenities at him at another time and

    offered to provide information about those individuals to Lt. Edgecomb.

 33. Upon information and belief, those other individuals were never arrested by Lt. Edgecomb.



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 34. Later in the conversation, Leo told Officer Edgecomb about Durand-McDonnell that “And

    so I really feel like this is a guy who’s got to be in jail someday, and sooner rather than

    later.”

 35. Officer Edgecomb responded by asking if Durand-McDonnell was “still out there” and

    arrested him mere minutes later.

 36. Durand-McDonnell was arrested while holding a sign and peacefully protesting Leo’s

    political activities.

 37. Durand-McDonnell disagrees with Leo’s political activities and his strong disagreements

    with Leo’s political activities were the sole reason he protested outside Leo’s home.

 38. Prior to arresting Durand-McDonnell, Lt. Edgecomb told Leo that “So what we’re going

    to probably do is arrest him, take him to jail so that he has bail conditions not to be in or

    near 46 South Shore Road. If I could make it my way, he wouldn’t be allowed in Northeast

    Harbor, but bail commissioners don’t do that often—all the time.”

 39. Lt. Edgecomb then went on to say that there was no reason for Durand-McDonnell to be

    at 46 South Shore Road, which is Leo’s home and the site of the protests.

 40. Lt. Edgecomb further went on to criticize statements made by the protestors stating that

    “even some of the stuff I heard them say is, you know, it’s like really, guys? You know,

    come on. You know, I was here the night that Susan Collins was here. I was across the

    street. I hung out with those guys over there just so that I could figure out what -- you

    know, what the deal was.”

 41. Upon information and belief, Lt. Edgecomb is referring to protests outside Leo’s home in

    August 2019 during a fundraiser for US Senator Susan Collins in light of her vote to

    confirm the nomination of Supreme Court Justice Kavanaugh.

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 42. Lt. Edgecomb and Officer Formby confronted Durand-McDonnell and identified him

    before handcuffing him, forcing him into a police cruiser, and taking him to Hancock

    County Jail to process him for arrest, including imposition of bail conditions that prohibited

    him from being at or near the vicinity of Leo’s summer home in Northeast Harbor.

 43. Officer Formby searched Durand-McDonnell’s person without his consent after the

    unlawful arrest.

 44. Multiple protestors chanted “fucking asshole” at Lt. Edgecomb as he left after Durand-

    McDonnell’s arrest.

 45. Lt. Edgecomb did not arrest any other protestors for disorderly conduct.

 46. The Hancock County District Attorney’s Office charged Durand-McDonnell with

    Disorderly Conduct by Complaint.

 47. The Hancock County District Attorney’s Office later dismissed that Complaint on May 11,

    2023.

                               FIRST CAUSE OF ACTION
      Violation of 42 U.S.C. § 1983—Retaliatory Arrest in Violation of the First
                    Amendment of the United States Constitution
             (Lt. Edgecomb and Officer Formby in individual capacities)

 48. Durand-McDonnell reasserts and realleges the allegations in paragraphs 1-47.

 49. At all times relevant to this Complaint, Durand-McDonnell’s actions and statements about

    Leo were made as political protest and pursuant to his First Amendment rights to free

    speech and assembly.

 50. The political nature of Durand-McDonnell’s speech and actions was and/or should have

    been obvious to Lt. Edgecomb and Officer Formby from the context of repeated earlier




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    protests at Leo’s home, Leo’s own statements prior to the arrest, and the national attention

    on the Dobbs decision.

 51. Lt. Edgecomb and Officer Formby arrested Durand-McDonnell in retaliation for his

    exercise of First Amendment rights.

 52. Lt. Edgecomb and Officer Formby’s retaliatory arrest caused Durand-McDonnell’s injuries

    by subjecting him to illegal physical restraint, illegal search, interfering with his right to

    speak and assemble, using bail conditions to further chill and interfere with his right to

    assemble and speak, and subjecting him to the embarrassment and fear of an illegal

    prosecution for Disorderly Conduct.

 53. Lt. Edgecomb and Officer Formby arrested Durand-McDonnell without probable cause

    given the facts and circumstances of the allegations against him.

 54. Lt. Edgecomb and Officer Formby further arrested Durand-McDonnell for Disorderly

    Conduct when otherwise similarly situated individuals not engaged in the same type of

    protected speech and assembly have not been arrested and/or are not allowed to be arrested

    under existing Maine law.

 55. Durand-McDonnell suffered damages as a result of Lt. Edgecomb and Officer Formby’s

    illegal arrest.

 56. Durand-McDonnell’s First Amendment rights to free speech and assembly and to be free

    from retaliatory arrests for exercising the same were clearly established at the time of his

    illegal arrest.

 57. Lt. Edgecomb and Officer Formby’s arrest of Durand-McDonnell under the circumstances

    was made with actual malice, recklessness and/or callous indifference to his

    constitutionally protected rights.

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                           SECOND CAUSE OF ACTION
    Violation of 42 U.S.C. § 1983—Unlawful Arrest in Violation of the Fourteenth
                    Amendment of the United States Constitution
             (Lt. Edgecomb and Officer Formby in individual capacities)

 58. Durand-McDonnell reasserts and realleges the allegations in paragraphs 1-57.

 59. Durand-McDonnell has a Fourth Amendment right to be free from unreasonable searches

    and seizures, including arrest except when a law enforcement officer is aware of facts and

    circumstances, based on reasonably trustworthy information, that would warrant an

    ordinarily prudent and cautious law enforcement officer to believe Durand-McDonnell did

    commit or was committing a crime.

 60. Lt. Edgecomb and Officer Formby, while acting under color of state law, arrested Durand-

    McDonnell without any facts or circumstances that Durand-McDonnell committed or was

    committing a crime.

 61. The specific facts and circumstances of allegations against Durand-McDonnell were

    plainly protected speech based on the information known and available to Lt. Edgecomb

    and Officer Formby prior to their decision to arrest Durand-McDonnell.

 62. Durand-McDonnell’s Fourth Amendment right to be free from arrest without probable

    cause was clearly established at the time of his arrest.

 63. Lt. Edgecomb and Officer Formby’s arrest of Durand-McDonnell under the circumstances

    was made with actual malice, recklessness and/or callous indifference to his

    constitutionally protected rights.


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                                THIRD CAUSE OF ACTION
                                         False Arrest
                   (Lt. Edgecomb and Officer Formby in individual capacities)

  64. Durand-McDonnell reasserts and realleges the allegations in paragraphs 1-63.

  65. Lt. Edgecomb and Officer Formby communicated with each other about a plan to arrest

     Durand-McDonnell for alleged Disorderly Conduct that occurred outside of their presence.

  66. Lt. Edgecomb and Officer Formby intended to arrest and confine Durand-McDonnell.

  67. Durand-McDonnell was conscious and aware of his confinement, which included being

     forcibly removed from the peaceful protest, placed into physical restraints, searched and

     deprived of personal property, transported by police cruiser to the Hancock County Jail

     over 20 miles away, held for processing at the jail, and released on bail conditions that

     continued to restrict his liberty.

  68. Durand-McDonnell did not consent to this illegal confinement.

  69. Lt. Edgecomb and Officer Formby held no privilege allowing them to confine Durand-

     McDonnell under these circumstances.

  70. Lt. Edgecomb and Officer Formby’s illegal arrest and imprisonment caused Durand-

     McDonnell damages, including but not limited to emotional distress and dignitary

     damages.

  71. Lt. Edgecomb and Officer Formby’s illegal arrest of Durand-McDonnell was made with

     actual malice and/or the conduct of the arrest was so outrageous that malice can be implied.

                                FOURTH CAUSE OF ACTION
                      Violation of Maine Civil Rights Act (5 M.R.S. § 4682)
                   (Lt. Edgecomb and Officer Formby in individual capacities)

  72. Durand-McDonnell reasserts and realleges the allegations in paragraphs 1-71.



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   73. Lt. Edgecomb and Officer Formby intentionally interfered with Durand-McDonnell’s

       exercise of his rights to free speech and assembly by physical force when they arrested him

       in the act of his peaceful political protest.

   74. Durand-McDonnell’s rights to free speech and assembly are secured by the US and Maine

       Constitutions respectively under the First Amendment of the US Constitution and Article

       I, Section Four of the Maine Constitution.

   75. Durand-McDonnell’s rights to be free from unreasonable searches and seizures are secured

       by the US and Maine Constitutions respectively under the Fourth Amendment of the US

       Constitution and Article I, Section Five of the Maine Constitution.

   76. Lt. Edgecomb and Officer Formby’s physical arrest and imprisonment of Durand-

       McDonnell interfered with his US and Maine constitutional rights to free speech and

       assembly and to be free from unreasonable seizure.

   77. Lt. Edgecomb and Officer Formby’s interference caused Durand-McDonnell damages,

       including but not limited to emotional distress.

   78. Lt. Edgecomb and Officer Formby’s illegal arrest of Durand-McDonnell and interference

       with his constitutional rights were made with actual malice and/or the conduct was so

       outrageous that malice can be implied.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff, Eli Durand-McDonnell, respectfully prays that this Honorable Court:

   79. Enter judgment is his favor awarding compensatory and punitive damages, plus pre-

       judgment and post-judgment interest;




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   80. Award him reimbursement costs of suit, including reasonable attorney fees and other

       litigation costs incurred in bringing this action pursuant to 42 U.S.C. § 1983 and 5 M.R.S.

       § 4682;

   81. Grant such further relief as the Court may deem just and proper.


   PLAINTIFF DEMANDS A JURY TRIAL ON ALL CLAIMS IN HIS COMPLAINT SO
   TRIABLE AS OF RIGHT.


Dated: July 20, 2023


/s/ Matthew D. Morgan
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